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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                   LAKE CHARLES DIVISION


  STATE OF LOUISIANA ET AL                                CASE NO. 2:21-CV-00778

  VERSUS                                                  JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                                 MAG. JUDGE KATHLEEN KAY

                                      MEMORANDUM RULING

           On January 27, 2021, President Joseph R. Biden, Jr. (“President Biden”) signed

  Executive Order 140081 entitled “Tackling the Climate Crisis at Home and Abroad.” (hereinafter

  “Executive Order 14008”). Section 208 of Executive Order 14008, in pertinent part, states:

                Oil and Natural Gas Development on Public Lands and in Offshore
                Waters. To the extent consistent with applicable law, the Secretary of the
                Interior shall pause new oil and natural gas leases on public lands or in
                offshore waters pending completion of a comprehensive review and
                reconsideration of Federal oil and gas permitting and leasing practices in
                light of the Secretary of the Interior’s broad stewardship responsibilities
                over the public lands and in offshore waters, including potential climate
                and other impacts associated with oil and gas activities on public lands or
                in offshore waters.

           At issue in this proceeding is whether President Biden had the authority to order a stop on

  oil and gas activities in light of the Outer Continental Shelf Lands Act2 (“OCSLA”) and the

  Mineral Leasing Act3 (“MLA”). Also at issue is whether the various Government Defendant

  agencies’ implementation of Section 208 of Executive Order 14008 violated the Administrative

  Procedures Act4 (“APA”).




  1
    86 Fed. Reg. 7619
  2
    43 U.S.C. § 1332, et seq.
  3
    30 U.S.C. § 226, et seq.
  4
     5 U.S.C. § 551, et seq.
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           Pending before the Court is a Motion for Summary Judgment [Doc. No. 199] filed by

  Plaintiff States5 and a Cross Motion for Summary Judgment [Doc. No. 209] filed by Government

  Defendants.6 Oppositions [Doc. Nos. 208 and 217] have been filed by Government Defendants

  and Plaintiff States. Replies [Doc. No. 215 and 218] have been filed by Government Defendants

  and Plaintiff States.

           Additionally, Amici Curiae Memoranda [Doc. Nos. 213 and 214] have been filed by

  Conservation Groups7 in opposition to Plaintiff States’ Motion for Summary Judgment and in

  support of Government Defendants’ Cross Motion for Summary Judgment.

           For the reasons set forth herein, Plaintiff States’ Motion for Summary Judgment is

  GRANTED IN PART and DENIED IN PART, and Government Defendants’ Cross Motion for

  Summary Judgment is GRANTED IN PART and DENIED IN PART.



  5
   The Plaintiff States consist of the States of Louisiana, Alabama, Alaska, Arkansas, Georgia, Mississippi, Missouri,
  Montana, Nebraska, Oklahoma, Texas, Utah, and West Virginia.
  6
   Government Defendants consist of Joseph R. Biden, Jr. in his official capacity as President of the United States;
  Deb Haaland, in her official capacity as Secretary of the Interior; Michael Nedd, in his official capacity as Deputy
  Director of the Bureau of Land Management; Chad Padgett, in his official capacity as Director of the Bureau of
  Land Management Alaska Office; Raymond Suazo, in his official capacity as Director for the Bureau of Land
  Management Arizona Office; Karen Mouristen, in her official capacity as Director for the Bureau of Land
  Management California Office; Jamie Connell, in his official capacity as Director for the Bureau of Land
  Management Colorado Office; Mitchell Leverette, in his official capacity as Director for the Bureau of Land
  Management Eastern States Office; John Ruhs, in his official capacity as Director for the Bureau of Land
  Management Idaho Office; John Mehlhoff, in his official capacity as Director for the Bureau of Land Management
  Montana – Dakotas Office; Jon Raby, in his official capacity as Director for the Bureau of Land Management
  Nevada Office; Steve Wells, in his official capacity as Director for the Bureau of Land Management New Mexico
  Office; Barry Bushue, in his official capacity as Director for the Bureau of Land Management Oregon-Washington
  Office; Greg Sheehan, in his official capacity as Director for the Bureau of Land Management Utah Office; Kim
  Liebhauser, in her official capacity as Director for the Bureau of Land Management Wyoming Office; Amanda
  Lefton, in her official capacity as Director of the Bureau of Ocean Energy Management; Michael Celata, in his
  official capacity as Regional Director of the Bureau of Ocean Energy Management Gulf of Mexico Office; Lars
  Herbst, in his official capacity as Regional Director of Bureau of Safety and Environmental Enforcement Gulf of
  Mexico OCS Office; and Mark Fesmire, in his official capacity as Regional Director of the Bureau of Safety and
  Environmental Enforcement Alaska and Pacific Office.
  7
   Conservation Groups consist of Healthy Gulf, Center for Biological Diversity, Cook Inletkeeper, Defenders of
  Wildlife, Friends of the Earth, Natural Resources Defense Council, Oceana, Sierra Club and The Wilderness
  Society.


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  I.      BACKGROUND

          President Biden signed Executive Order 14008 on January 27, 2021. Section 208 of

  Executive Order 14008 “to the extent consistent with applicable law,” ordered the Secretary of

  the Department of the Interior to “pause” new oil and gas leases on public lands or in offshore

  waters pending the completion of a comprehensive review of Federal oil and gas permitting and

  leasing practices.

          The offshore oil and gas leases are governed by the OCSLA. The offshore oil and gas

  leases are further governed by the 2017-2022 Five-Year Oil and Gas Leasing Program. The

  process of creating the current 2017-2022 OCSLA program began in 2014, during the Obama

  Administration. The Bureau of Ocean Energy Management (“BOEM”) published a request for

  information (“RFI”) in the Federal Register, 79 Fed. Reg. 34349, and sent a letter to all

  governors, tribes and interested federal agencies.8

          A Draft Proposed Program9 was published in 2015. The publication of the program

  started a sixty-day comment period in which BOEM received over one million comments.

  Thereafter, BOEM published the Proposed Final Program in November 2016. The Final

  Program was approved on January 17, 2017. The Final Program scheduled ten (10) lease sales in

  the Gulf of Mexico and one (1) lease sale in Alaska in the Cook Inlet. The lease sales were

  scheduled with one sale in 2017, two sales in 2018, two sales in 2019, two sales in 2020, two

  sales in 2021, and one sale in 2022.10 Of particular significance herein is Lease Sale number 257

  in the Gulf of Mexico, and Lease Sale number 258 in the Alaskan Cook Inlet.




  8
    BOEM received over 500,000 comments in a response to the RFI.
  9
    [Doc. No. 199 Exh. 11 pp. 1-2 ]
  10
     [Doc. No. 199 Exh 3, p. 18]

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           A. The Outer Continental Shelf Lands Act

           Congress passed the OCSLA more than seventy years ago.11 The policy behind the act

  was to declare that “the subsoil and seabed of the outer Continental Shelf” (“the Shelf”) are

  subject to the jurisdiction, control, and power of disposition of the United States. 43 U.S.C. §

  1332(1). The OCSLA establishes the Shelf as “a vital national resource reserve held by the

  Federal Government for the public.” Id. at § 1332(3). It mandates the Secretary of the Interior

  (“the Secretary”) to make this national resource reserve subject to expeditious, orderly

  development, and environmental safeguards. Id. This is known as the expeditious development

  policy.12

           To facilitate this expeditious development of the Shelf, the OCSLA contains a four-step

  process that the Secretary must follow in order to administer a leasing program that sells

  exploration interests in portions of the Shelf to the highest bidder. 1 43 U.S.C. §§ 1334(a);

  1337(a)(1). The Secretary must (1) create a Five-Year Leasing Program, (2) hold lease sales, (3)

  grant or deny exploration permits and plans, and (4) grant or deny final development and

  production plans. Hornbeck Offshore Servs., L.L.C. v. Salazar, 696 F. Supp. 2d 632 (E.D. La.

  2010).13 The Five-Year Leasing Program is subject to procedural requirements, and the

  “requirements of the National Environmental Policy Act (“NEPA”) and Endangered Species Act

  (“ESA”) must be met before a lease sale can be held.” 43 U.S.C. §§ 1344(c)-(d); 1337; Sec’y of

  the Interior v. California, 464 U.S. 312, 338 (1984).

           The Secretary is responsible for regulating any lease issued under the OCSLA, and he

  may regulate provisions for suspension or prohibition of any operation on the Shelf, cancellation



  11
     [Doc. No. 3-1 p. 6].
  12
     [Doc. No. 3-1 p. 6].
  13
     [Doc. No. 3-1 p. 6].

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  of leases, assignments of leases, subsurface storage of oil and gas, drilling, prompt and efficient

  exploration, etc. 43 U.S.C. § 1334(a). Issuance and continuation of leases will be determined by

  compliance with the Secretary’s regulations. Id. at § 1334(b). The specific leases that are granted

  to the highest bidder include: “any oil and gas lease on the submerged lands of” the Shelf,

  sulphur leases, and other mineral leases. Id. at §§ 1337(a), (i), (k). The biddings on an oil and gas

  lease will be sealed and can be based on one of several options laid out within the statute. Id. at

  §§ 1337(a)(1)(A)-(I). Once an oil and gas lease is issued, it must meet certain requirements

  dictated within the statute, including covering an “area not exceeding 5,760 acres,” being for an

  initial period of five years, absent a specific need, and entitling “the lessee to explore, develop,

  and produce the oil and gas contained within the lease area.” Id. at § 1337(b).

         Under the OCSLA, any United States agency or person authorized by the Secretary may

  conduct geological and geophysical explorations of the Shelf as long as it does not interfere with

  operations under an OCSLA lease, or harm aquatic life. Id. at § 1340(a)(1). To conduct oil and

  gas exploration, the lessee must submit an exploration plan for approval, and the Secretary must

  approve the plan within thirty days of submission, absent any reason for cancelling the lease. Id.

  at § 1340(c). The exploration plan must include a schedule of the anticipated exploration

  activities, a description of the equipment to be used, the location of each well, and other pertinent

  information. Id. at § 1340(c)(3).

         An oil and gas lessee must submit a development and production plan for approval prior

  to any development or production under said lease. Id. at § 1351(a)(1). The plan must describe

  the specific work to be done, a description of all facilities and operations to be related to the

  development, the environmental safeguards to be implemented, all safety standards to be met, an

  expected schedule of production, and other relevant information. Id. at § 1351(c). There must



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  also be a detailed statement describing all facilities and operations to be constructed or used in

  the development or production of oil and gas from the lease. Id. at § 1351(a)(2). After receipt of

  this plan, the Secretary must make the plan public within ten days,14 receive comments and

  recommendations,15 and approve or disprove the plan within sixty days.16 The Secretary may

  disapprove a plan or require modifications for several reasons, but the lessee may reapply.17

           The Secretary must follow strict regulations for the Shelf Five-Year leasing program. Id.

  at § 1344. After submission of the original leasing program, the Secretary must maintain an oil

  and gas leasing program that contains a schedule of proposed lease sales and the size, timing, and

  location of leasing activity for the next five-year period. Id. at § 1344(a). The Secretary must

  review the program every year to consider possible revisions. Id. at § 1344(e). He must also

  maintain the program in compliance with certain statutory principles and revise accordingly. Id.

  at §§ 1344(a)-(b). The Secretary must consider suggestions from governors of affected states and

  interested federal agencies and submit the program to Congress. Id. at §§ 1344(c)-(d).

           Any OCSLA lease holder must maintain compliance with occupational safety and health

  standards and environmental regulations. Id. at § 1348(b). The Secretary will enforce safety and

  environmental regulations and conduct onsite inspections to maintain compliance. Id. at §

  1348(c). The lease holders must maintain all places of employment or areas covered by the

  leases in compliance with regulations, maintain all operations in compliance with regulations,

  and allow prompt access to any inspector. Id. at § 1348(b). The OCSLA lease holders must also

  comply with regulations regarding the access to oil and gas information. Id. at § 1352. The




  14
     Id. at § 1351(a)(3).
  15
     Id. at § 1351(g).
  16
     Id. at § 1351(h).
  17
     Id.

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  required information and data collected by a lessee’s activities are to be properly transmitted and

  provided to the Secretary.18

           If there is any violation of an OCSLA provision, a civil action may be instituted to

  enforce the appropriate penalty. Id. at. § 1350. These can include a restraining order or injunction

  against the offender. Id. at § 1350(a).

                    1. Lease Sale 257

           Lease Sale 257 was to comprise the Western and Central Planning Areas of the Gulf of

  Mexico and a portion of the Eastern Planning Area not subject to congressional moratorium.19

  BOEM published a Proposed Notice of Sale for Lease 257 in November 2021. 85 Fed. Reg.

  73508. BOEM sent the Proposed Notice to governors of the affected States and opened it for

  public comment. Lease Sale 257 was approved by the Secretary of the Interior in a Record of

  Decision (“ROD”) 20 (86 Fed. Reg. 6365), and he scheduled Lease Sale 257 for March 17, 2021.

           On February 18, 2021, Michael Celata, Regional Director of BOEM’s Gulf of Mexico

  office, issued a Notice to Rescind the prior Lease Sale 257 ROD. 86 Fed. Reg. 10132. The only

  stated rationale for rescinding the prior ROD was “to comply with Executive Order 14008.” The

  Rescission Notice further stated that BOEM may reevaluate Lease Sale 257 and publish an

  appropriate ROD in the Federal Register.

           This Court issued a Preliminary Injunction on June 15, 2021.21 The Injunction enjoined

  agency executive branch officials from implementing the pause of new oil and gas leases on

  public lands or in offshore waters, as set forth in Section 208 of Executive Order 14008.22 After




  18
     Id.
  19
     [Doc. No. 199-1, p 11].
  20
     [Doc. No. 199-6, p. 2]
  21
     [Doc. No. 140]
  22
     Id.

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  no lease sale was rescheduled, on August 8, 2021, Plaintiff States filed a Motion for Order to

  Show Cause and Motion to Compel.23 Government Defendants opposed the motion and revealed

  in their brief that Lease Sale 257’s ROD would be reissued.24 The new ROD rescheduled Lease

  Sale 257 to November 17, 2021.

           Bids for Lease Sale 257 were received on November 17, 2021. Thereafter,

  environmental advocacy organizations filed another suit against the Department of the Interior

  and BOEM in the United States District Court, District of Columbia. Friends of the Earth, et al

  v. Haaland, 2022 WL 254526 (D.D.C. Jan. 27, 2022). The suit alleged a violation of the National

  Environmental Policy Act (“NEPA”). On January 27, 2022, Judge Rudolph Contreras vacated

  the November 17, 2021, lease sale finding a violation of NEPA. The decision has been appealed

  by Louisiana, but Government Defendants did not appeal the decision. Therefore, no lease has

  been issued by Government Defendants as to Lease Sale 257.

                    2. Lease Sale 258

           Lease Sale 258 involves property in the Cook Inlet of Alaska. In September 2020,

  BOEM began the process of preparing the lease sale. BOEM released a Call for Information and

  Nomination in the Federal Register to allow industry parties to indicate interest in parcels of the

  sale area. 85 Fed. Reg. 55861. BOEM also released a Notice of Intent to Prepare an

  Environmental Impact Statement (“EIS”), which provided the public with an opportunity to

  comment on the scope of the lease sale. Id. In January 2021, after accounting for comments,

  BOEM published a Notice of Availability25 indicating the area proposed for the sale and

  proposed a draft environmental impact statement.26 Fed. Reg. 86 4116; 86 Fed. Reg. 4117.


  23
     [Doc. No. 149]
  24
     [Doc. No. 155]
  25
     [Doc. No. 199-7 p. 2].
  26
     [Doc. No. 199-8, p. 2].

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           In February 2021, after Executive Order 14008, BOEM published a press release on its

  website cancelling both the public comment period on the draft EIS, and public meetings about

  Lease Sale 258. 86 Fed. Reg. 10,132-01. The press release gave no justification for the

  cancellations except for Executive Order 14008. On February 23, 2021, the information in

  BOEM’s press release was later published in the Federal Register. 86 Fed. Reg. 10994. It also

  relied solely on Executive Order 14008 for the cancellations. BOEM also indicated it would

  publish a subsequent notice in the Federal Record if it decided to resume its NEPA evaluation

  following the comprehensive review.27

           On October 29, 2021, BOEM published in the Federal Register a notice of availability for

  a draft EIS analyzing the potential environmental impacts of Lease Sale 258. 86 Fed. Reg.

  60068. BOEM indicated it did not receive any nominations or direct indications of interest from

  potential bidders and BOEM decided not to proceed with Lease Sale 258.28

           B. The Mineral Leasing Act

           The MLA governs the energy-producing lands the Federal Government holds onshore

  and onshore lease sales of public land. 30 U.S.C. § 226(b)(1)(A). Land is “available” to be leased

  if statutory requirements are met and if it is in the public interest to approve the lease.29 To be

  eligible for an oil and gas lease under the MLA, an applicant must establish that valuable

  deposits of oil or gas have been discovered within the limits of the land to be governed by a

  permit. 30 U.S.C. § 223. After establishing discovery of oil and gas, the permittee is entitled to a

  lease for one-fourth of the land governed by the permit, and the lease shall extend up to twenty

  years.30 Any land leased under the MLA is subject to the condition that the lessee “use all


  27
     Id.
  28
     U.S. Dept. of Interior, Sale 258 Status Update
  29
     [Doc. No. 209-1, pp. 9-10].
  30
     Id.

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  reasonable precautions to prevent waste of oil or gas developed in the land, or the entrance of

  water through wells drilled by him to the oil sands or oil-bearing strata, to the destruction or

  injury of the oil deposits.” Id. at § 225. Any violation of the MLA will be grounds to forfeit the

  lease.31

             The Secretary is responsible for leasing lands under the MLA, and he is required to hold

  lease sales “for each State where eligible lands are available at least quarterly” and award the

  lease to the highest bidder. Id. at §§ 226(a)-(b). The winning bid must be for at least the national

  minimum acceptable bid, which is established by regulation from the Secretary, to avoid

  rejection. Id. at § 226(b)(1)(A). The lease will be issued within sixty days of the payment by the

  highest bidder of the remainder of the bonus bid and the first year’s annual rent.32 Land meeting

  certain criteria will be subject to other statutory regulations for leasing,33 and certain federal

  lands are excluded from being leased. Id. at §§ 226(b)(2), (3); § 226-3.

             The Secretary will regulate all “surface-disturbing activities conducted pursuant to any

  lease issued” under the MLA. Id. at § 226(g). No permit to drill will be issued without the

  Secretary receiving and approving a plan of operations that describes the proposed surface-

  disturbing activities within the leased area.34 The Secretary is further authorized to approve

  “operating, drilling, or development contracts” when either the conservation of natural products,

  the public convenience or necessity, or the United States’ interests may be best served.35

             The MLA provides that, for oil and gas leases on federal lands, in States other than

  Alaska, fifty percent of bonuses, production royalties, and other revenues are granted to the State




  31
     Id.
  32
     Id.
  33
     These statutes dictate special tar sand areas and lands that the United States had a vested future interest in.
  34
     Id.
  35
     Id.

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  in which the lease is located, and forty percent is granted to the Reclamation Fund, which

  maintains irrigation systems in several Western States.36 30 U.S.C. §191(a). For leases in Alaska,

  ninety percent of revenues are granted to the State.37

          C. Post-Executive Order MLA Lease Sales

          After the signing of Executive Order 14008, BLM offices halted all pending quarterly lease

  sales through an issuance of a BLM Fact Sheet.38 The BLM Fact Sheet relied on the Executive

  Order directing the Department of the Interior to “pause” new oil and gas leasing on public lands

  and offshore waters for the halt.

          BLM postponed a Nevada lease sale on March 9, 2021, and there was no reason provided

  for the postponement.39 On February 17, 2021, a March 25, 2021, Colorado sale was postponed,

  and, again, there was no reason provided for the postponement.40 On February 12, 2021, lease

  sales in Colorado, Montana, Wyoming, and Utah were postponed, with project sites listed as

  “paused.”41 The reason listed was to confirm the adequacy of underlying environmental

  analyses.42

          On February 12, 2021, a Utah oil and gas lease sale scheduled for March 30, 2021, was

  postponed. The reason listed was to determine whether additional NEPA needed to be

  conducted to determine if parcels were suitable to be offered.43 On January 27, 2021, the DOI,

  BLM published Errata #1 with regard to an internet-based competitive oil and gas lease in




  36
     [Doc. No. 3-1, p. 10]
  37
     Id.
  38
     BLM Fact Sheet, Hitting Pause on New Oil and Gas Leasing, biden-take-action-uphold-committment-restore-
  balance-public-lease-lands
  39
     [Doc. No. 120-5 p. 2]
  40
     [Doc. No. 120-5 p. 3]
  41
     [Doc. No. 120-5 p. 4]
  42
     [Doc. No. 120-5 p. 6]
  43
     [Doc. No. 120-6 p. 1]

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  Nevada, which consisted of seventeen parcels containing approximately 73,600 acres. The

  Notice stated the March 9, 2021, sale had been postponed, with no additional reasons given.44

           On February 12, 2021, a Memorandum45 from Travis Annatoyn to Laura Daniel-Davis

  stated it was Annatoyn’s opinion that lease sales set in Colorado or Montana and the Dakotas be

  postponed because of a lack of analysis on greenhouse gas emissions due to a 2020 lawsuit. The

  Memorandum also recommended cancelling lease sales scheduled in Utah and Wyoming due to

  lack of an environmental analysis.

           On February 12, 2021,46 Mitchell Leverette sent a Memorandum to Michael D. Nedd of

  BLM. The memorandum recommended postponing the scheduled March 18, 2021, lease sales in

  Alabama and Mississippi (14 parcels, 5439 acres) and rescheduling the sale for June 17, 2021.

  The reason given was to complete additional air quality analysis to comply with the WildEarth

  Guardians opinion. On February 11, 2021, a Memorandum to Michael Nedd by Gregory

  Sheehan recommended postponing a March 30, 2021, competitive lease sale in order to

  reevaluate the parcels to comply with the opinion in the Rocky Mountain Wild case.47

           On March 1, 2021, in an email from Laura Daniel-Davis to Michael Nedd,48 Daniel-

  Davis told Nedd that Department officials were postponing further consideration of Quarter Two

  Sales pending decisions on how the Department would implement Executive Order 14008 with

  regard to onshore sales. Daniel-Davis told Nedd to post on the relevant website that “[t]he oil

  and gas lease scheduled for April 2021 has been postponed.”




  44
     [Doc. No. 120-6 p. 2]
  45
     [Doc. No. 120-6 pp. 3-4]
  46
     [Doc. No. 120-6, pp. 5-6 ]
  47
     [Doc. No. 120-6, pp. 7-8]
  48
     [Doc. No. 120-6 p. 10]

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          Government Defendants filed Notices of Competitive Lease Sale Activity on April 22,

  2022.49 The Notices showed that competitive lease sales were scheduled in Utah, Nevada, New

  Mexico, Colorado, Wyoming, and Montana.50

          Government Defendants maintain work began on the “comprehensive review” mentioned

  in Executive Order 14008 on January 6, 2021, and was completed on October 12, 2021.51

  Government Defendants indicated they relied on that comprehensive review to prepare a new

  NEPA approach in drafting NEPA analyses for Q1 2022 lease sales. However, due to a court

  decision which enjoined some of the NEPA changes in the comprehensive review, Government

  Defendants maintain this decision prevented BLM from proceeding with Q1 2022 lease sales.52

  The State of Louisiana, et al v. Joseph R. Biden, Jr., et al, Case No. 2:21-1074, W.D. of

  Louisiana.

          Therefore, after the United States Court of Appeals for the Fifth Circuit Stayed that

  injunction,53 Government Defendants state they have rescheduled Q2 2022 lease sales for June

  2022.54 There is nothing in the record for the Court to determine whether the June 2022, onshore

  lease sales took place. Government Defendants have not provided any evidence showing even

  one onshore or offshore lease sale has taken place since Executive Order 14008 was signed on

  January 27, 2021.




  49
     [Doc. No. 198]
  50
     Id.
  51
     [Doc. No. 208-1 p 32 ¶33] [Doc. No. 209-1 p. 14]
  52
     [Doc. No. 209-1 p. 14] and Declaration of Peter Cowan, [Doc. No. 191-2]
  53
     [Doc. No. 198-7].
  54
     [Doc. No. 198-1-6, Exhibits. A-F]

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  II.      LAW AND ANALYSIS

           A. What is a Pause?

           Prior to addressing jurisdictional arguments, Government Defendants question what a

  “Pause” is. They argue that neither Plaintiff States nor the Court has defined Pause in a manner

  that Government Defendants can understand. Additionally, Government Defendants maintain

  the word is too ambiguous to meet the specificity requirements of FED. R. CIV. P. 65. The Fifth

  Circuit also believed the term was too vague to meet the specificity requirements of FRCP 65.55

           This Court has previously used the noun “Pause” to describe the action referred to by

  President Biden in Section 208 of Executive Order 14008.56 “Pause” is defined as “a temporary

  stop.”57 In this case, the use of the term “Pause” referred to the temporary stop ordered by

  President Biden in Section 208 of Executive Order 14008, the one addressed by Michael Celata

  in the Notice to Rescind Lease Sale 257,58 the one addressed by BOEM in its February 2021,

  press release and Federal Register publication,59 the one addressed by the BLM Fact Sheet,

  HITTING PAUSE ON NEW OIL AND GAS LEASING, and the one addressed by Laura

  Daniel-Davis in her March 1, 2021, email to Michael Nedd.60

           The word “Pause” was used because that is the word used in President Biden’s Executive

  Order and thereafter by Government Defendant agencies. However, the Court finds that, in this

  case, the most appropriate word to use would be “stop.” This is because the offshore and onshore

  Federal leasing process was completely stopped as to eligible lands in all scenarios mentioned

  herein. This “stop” was enacted by Executive Order 14008 one week into President Biden’s term


  55
     United States Court of Appeals for the 5th Cir., Case No. 21-30505, August 17, 2022
  56
     “To the extent consistent with applicable law, the Secretary of the Interior shall pause new oil and gas leases on
  public lands, or in offshore waters pending completion of a comprehensive review…” (emphasis added)
  57
     “Pause,” Merriam-Webster, https://www.merriam-webster.com/dictionary/pause.
  58
     86 Fed. Reg. 10132
  59
     86 Fed. Reg. 10994
  60
     [Doc. No. 120-6 p. 10 PR 86]

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  after a campaign promise to stop oil and gas leasing on federal lands.61 Based upon the previous

  campaign promise and the lack of lease sales on federal lands since the Executive Order was

  issued nineteen months ago, the Court finds there was an unwritten policy to “stop” the onshore

  and offshore leasing process by calling the stopping a “pause.” In the nineteen months after

  Executive Order 14008 was issued, the only onshore or offshore lease sale that took place was

  the sale of Lease Sale 257. That would not have occurred if not for this lawsuit, the preliminary

  injunction, and Motion for Contempt62 filed by Plaintiff States. In other words, Government

  Defendants called it a “Pause,” but it was really a complete “Stop” of the federal leasing process.

  The word “stop” is defined as “a cessation of movement or operation.”63 As it relates to this

  case, the Court refers to the Stop as the cessation of the leasing process of eligible federal lands.

           B. Jurisdiction

           In their argument that Plaintiff States have no jurisdiction, Government Defendants assert

  that Plaintiff States do not have standing, that there is no jurisdiction over agency actions that

  occurred after the suit was filed, that there is no jurisdiction over an agency “Pause” (Stop)

  because it is a programmatic challenge, because no “Pause” (Stop) exists, and because Plaintiff

  States’ requested relief is time barred under 28 U.S.C. § 2401(a).64

           The Court will analyze the question of jurisdiction below.

                    1. Standing

           The United States Constitution limits the exercise of judicial power to certain “cases and

  controversies.” U.S. Constitution Article III Section 2. Under the doctrine of “standing,” a


  61
     [Doc. No. 3-1 p.5]
  62
     [Do. No. 149]
  63
     “Stop,” Merriam-Webster, https://www.merriam-webster.com/dictionary/stop.
  64
     The Court only uses the word Pause here as it relates to Government Defendants’ arguments; the Court finds that
  the word Pause does not appropriately or accurately address what the Executive Order did here, but it does find that
  the word Stop more accurately reflects the results of EO 14008. The Court will, hereafter, only use the word Pause if
  it is referring to Government Defendant’s arguments.

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  federal court can exercise judicial power only where a plaintiff has demonstrated that it (1)

  suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

  and (3) that it is likely to be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504

  U.S. 555, 560–61, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992). The party invoking federal

  jurisdiction bears the burden of establishing these elements. Id. at 561.

         The Plaintiffs in this case are thirteen (13) States. States are not normal litigants for

  purposes of invoking federal jurisdiction. Massachusetts v. E.P.A., 549 U.S. 497, 518 (2007).

  Rather, a State is afforded “special solicitude” in satisfying its burden to demonstrate the

  traceability and redressability elements of the traditional standing inquiry, whenever its claims

  and inquiry meet certain criteria. Id. at 520. Specifically, a state seeking special solicitude

  standing must allege that a defendant violated a congressionally accorded procedural right that

  affects the state’s “quasi-sovereign” interests in, for instance, its physical territory or lawmaking

  function. Id. at 520-21.

         In Massachusetts v. E.P.A., the United States Supreme Court found the State of

  Massachusetts had standing to review an EPA order refusing to regulate greenhouse gas

  emissions from motor vehicles under the Clean Air Act. The Court found Massachusetts’

  alleged rise in sea levels was “actual and imminent” as “injury in fact.” Id at 521. Additionally,

  the Court found Massachusetts had parens patriae standing because the alleged order affected

  Massachusetts’ “quasi-sovereign” interests. Id at 520. In determining whether a state’s “quasi-

  sovereign” interests are affected, the Court stated that one helpful indication is whether the injury

  is one that the state, if it could, would likely attempt to address through its sovereign lawmaking

  powers. Id.




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         Plaintiff States allege the Stop and/or individual sales postponed cost Plaintiff States a

  substantial share of proceeds from lease sales under the OCSLA, the Gulf of Mexico Energy

  Security Act, the MLA, and would result in loss of jobs for Plaintiff States’ residents, along with

  tax revenue.

                 a. Injury in Fact

         A plaintiff seeking to establish injury in fact must show that it suffered “an invasion of a

  legally protected interest” that is “concrete,” “particularized,” and “actual or imminent, not

  conjectural or hypothetical.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548, 194 L. Ed. 2d 635

  (2016), as revised (May 24, 2016). For an injury to be “particularized,” it “must affect the

  plaintiff in a personal and individual way.” Id. at 1548. A “concrete” injury must be “de facto,”

  that is, it must “actually exist.” “Concrete” is not, however, necessarily synonymous with

  “tangible.” Intangible injuries can nevertheless be “concrete.” Id. at 1548-49.

         The Court finds Plaintiff States’ alleged injuries are both particularized and concrete.

  They have alleged loss of proceeds as a result of the Stop of new oil and gas leases on federal

  lands and waters, from bonuses, land rents, royalties, and other income. Plaintiff States have

  also alleged loss of jobs and economic damage as a direct result of the Stop. These alleged

  damages are concrete, particularized, and imminent.

                 b. Traceability

         Plaintiff States must now show a “fairly traceable” link between their alleged injuries and

  the Stop of new oil and gas leases on federal lands and in federal waters. As a general matter,

  the causation required for standing purposes can be established with “no more than de facto

  causality.” Dep't of Com. v. New York, 139 S. Ct. 2551, 2556, 204 L. Ed. 2d 978 (2019). The




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  plaintiff need not demonstrate that the defendant’s actions are “the very last step in the chain of

  causation.” Bennett v. Spear, 520 U.S. 154, 169–70, 117 S. Ct. 1154, 137 L. Ed. 2d 281 (1997).

          The Court finds that Plaintiff States have established that the Stop would result in the

  damages they allege. The Declaration of Jerome Zeringue,65 the Declaration of Professor

  Timothy J. Considine66 and the Declaration of Professor Davie E. Dismukes67 are sufficient to

  establish the Stop at issue would result in damages, including funding for the Coastal Master

  Plan (which funds Louisiana’s coastal restoration and recovery), reduction in State revenues,

  damages to the economy, loss of jobs, higher oil and gas prices, and reduction in the energy

  export economy.

          Plaintiff States have proved traceability.

                   c. Redressability

          The redressability element of standing to sue requires a plaintiff to demonstrate “a

  substantial likelihood that the requested relief will remedy the alleged injury in fact.” El Paso

  Cnty., Texas v. Trump, 982 F.3d 332, 341 (5th Cir. 2020).

          Government Defendants argue that there has been no “Pause” (Stop) in drilling and

  permits for “existing” leases because drilling in federal lands is still proceeding at approximately

  the same rate as the prior four years, and, therefore, a favorable ruling for Plaintiff States will not

  redress their alleged injuries. However, these declarations only address “existing leases” and not

  “new leases.” The cancellation of Lease Sale 257 itself has had immediate impacts on Plaintiff

  States due to loss of bonus payments and ground rents. A stop for any significant length of time

  would likely result in other losses.



  65
     [Doc. No. 3-6]
  66
     [Doc. No. 120-2]
  67
     [Doc. No. 3- 4]

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          The Court finds that Plaintiff States have also satisfied the redressability element.

          2. Special Solicitude

          Although the Court finds that Plaintiff States have proven standing through the normal

  inquiry, they also can establish standing as a result of special solicitude. Plaintiff States have

  special solicitude because they assert a congressionally bestowed procedural right (the APA),

  and the government action at issue affects the Plaintiff States’ quasi-sovereign interests (damage

  to economics, loss of jobs, coastal erosion funding, funding for state and local governments).

  See Massachusetts, 549 U.S. at 519–20.

          Therefore, any infirmities that may exist in Plaintiff States’ demonstration of traceability

  or redressability are remedied by Plaintiff States’ special solicitude.

          3. Post-Suit Agency Actions

          Government Defendants maintain the Court does not have jurisdiction over any agency

  actions which occurred after this suit was filed on March 24, 2021. The Court agrees. Subject

  matter jurisdiction is determined at the onset of the suit. The action cannot be a final agency

  action under the APA before it occurs. Mobile Oil Corp. v. Kelley, 493 F.2d 784 (5th Cir. 1974);

  Palmer v. Sun Coast Contracting Servs., LLC, 2015 WL 5823938 (S.D. Miss. Oct. 6, 2015);

  Veldhoen v. United States Coast Guard, 35 F.3d 222 (5th Cir. 1994). Therefore, the Court does

  not have jurisdiction to review any pause/stop of lease sales which occurred after March 24,

  2021.

          4. Programmatic Challenge

          Government Defendants argue Plaintiff States’ attack of the “Pause” (Stop) is a

  nonjusticiable programmatic challenge, rather than a justiciable challenge to a discrete and final




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  agency action. Therefore, Government Defendants argue the Court has no jurisdiction to review

  a programmatic challenge.

         In Sierra Club v. Peterson, 228 F.3d 559 (5th Cir. 2000), the plaintiffs made an argument

  that the Forest Service’s “on-the-ground” management of the Texas forests was unlawful. The

  Fifth Circuit reversed the district court’s ruling that gave broad relief, which barred almost all

  timber harvesting in the Texas forests. The Fifth Circuit explained that courts can challenge

  specific and identifiable agency actions to general management practices but cannot challenge

  the agency’s general administration.

         Plaintiff States challenge to the Stop is not a programmatic challenge to the agency’s

  general administration. It is a challenge to specific things— the Government Defendants’

  agencies’ cancellation and/or postponement of eligible onshore and offshore oil and gas leases

  because of Section 208 of Executive Order 14008.

         5. Non-Plaintiff States

         Government Defendants further argue that lease sales in the non-plaintiff states of

  Colorado, Wyoming, Nevada, and New Mexico are not subject to the Court’s jurisdiction

  because they are not plaintiffs in this lawsuit. The Court agrees. Because Plaintiff States argue

  lost revenue, and a parens patria standard on the basis of their citizens, the Court agrees that

  Plaintiff States do not have standing to challenge alleged final agency actions involving the non-

  plaintiff states of Colorado, Wyoming, Nevada, and New Mexico.

         However, this would not prohibit Government Defendants from using evidence of these

  states’ cancellation/postponement of lease sales in determining whether a pause/stop existed.




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          6. Does a Pause Exist?

          Government Defendants continue to argue that the Court has no jurisdiction over the

  Pause because, in addition to not knowing what a Pause is, an alleged Pause does not exist.68 As

  discussed, the Court finds a Stop took place, which was disguised as a Pause in the federal

  leasing process. Executive Order 14008, Section 208, instructed the Secretary of the Interior that

  “[t]he Secretary of the Interior shall pause new oil and gas leases on public lands or in offshore

  waters pending completion of a comprehensive review” (emphasis added). Nothing in the AR

  suggests any of the defendant agencies ever questioned whether the Pause in President Biden’s

  Executive Order complied with applicable law. The defendant agencies implemented the

  Executive Order. Lease Sale 257’s ROD was immediately rescinded, and Lease Sale 258’s Draft

  EIS and public meeting were immediately cancelled. 86 Fed. Reg. 10132; 86 Fed. Reg. 10994.

  The justification for both was Executive Order 14008.

          For the MLA lease sales, after the signing of Executive Order 14008, BLM offices halted

  all pending quarterly lease sales.69 In addition to specifically calling it a Pause,70 the only reason

  given for those halts was Executive Order 14008. A March 9, 2021, Nevada lease sale was

  postponed with no reason given.71 On February 17, 2021, a March 25, 2021, Colorado sale was

  postponed with no reason given.72 On January 27, 2021, the DOI, BLM published Errata #1 with

  regard to an internet-band competitive oil and gas lease in Nevada, which consisted of seventeen

  (17) parcels containing approximately 73,600 acres. The Notice stated the March 9, 2021, sale

  had been postponed with no additional reasons given.73 And, on March 1, 2021, in an email from


  68
     This Court is unclear how Government Defendants know the Pause does not exist if they do not know what a
  Pause is.
  69
     BLM Fact Sheet. See Footnote 33
  70
     “Hitting Pause on New Oil and Gas Leasing”
  71
     [Doc. No. 120-5 p. 2]
  72
     [Doc. No. 120-5 p. 3]
  73
     [Doc. No. 120-6 p. 2]

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  Laura Daniel-Davis to Michael Nedd,74 Daniel-Davis told Nedd to post on the relevant website:

  “The oil and gas lease sales scheduled for April 2021, have been postponed.” BLM additionally

  cancelled/postponed a number of lease sales for other reasons.75

           The reason President Biden gave for pausing federal oil and gas drilling in Executive

  Order 14008 was that a comprehensive review and reconsideration of federal oil and gas

  permitting and leasing practices needed to occur. According to Government Defendants’

  evidence, the comprehensive review mentioned in Executive Order 14008 began January 6,

  2021, and was completed on October 12, 2021.76

           The DOI states it had not adopted a blanket policy either pausing or stopping oil and gas

  leasing, but the evidence does not support that statement. 77 Although the Court does not have

  jurisdiction over the lease sales that took place after the suit was filed, the other cancelled or

  postponed lease sales are relevant to a determination of whether a Stop took place. Despite

  Government Defendants’ argument that no “Pause” (Stop) occurred, not even one onshore or

  offshore scheduled lease sale has been conducted since Executive order 14008 was signed on

  January 27, 2021.

  III.     ULTRA VIRES CLAIM

           Government Defendants maintain the Court cannot review Executive Order 14008.

  Government Defendants are correct that Executive Order 14008 cannot be reviewed under the

  APA because the President is not an agency. Dalton v. Specter 511 U.S. 462 (1994). However,

  an Executive Order can be challenged as ultra vires.78 Therefore, reviewing an Executive Order




  74
     [Doc. No. 120-6 p. 10]
  75
     [Doc. No. 120-6 p. 3]
  76
     Id.
  77
     BLM IDB 2421
  78
     Ultra vires is a Latin phrase that means “beyond the powers.”

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  as to whether it was ultra vires is appropriate to determine whether the President has violated the

  Constitution, the statute under which the challenged action was taken violated the Constitution or

  conflicted with other statutes, or whether there was no statutory authority to take a particular

  action. Ancient Coin Collector’s Guild v. U.S. Customs & Border Protection, 801 F. Supp. 2d

  383, 406 (D. Md 2011); Mountain State Legal Foundation v. Bush, 306 F.3d 1132, 1136 (D. C.

  Cir. 2002).

           A President’s authority to act, as with the exercise of any governmental power, must stem

  either from an act of Congress, the Constitution itself, or a combination of the two. Medellin v.

  Texas, 552 U.S. 491 (2008). In reviewing the lawfulness of the defendant’s conduct, the Court

  begins each inquiry by determining whether the disputed action exceeds statutory authority.

  Sierra Club v. Trump, 397 F. Supp 3d 883 (N.D. Cal. 2019). A President may not transgress

  constitutional limitations. Indiganas Envit Network v. Trump, 428 F. Supp. 3d 296 (D. Mont.

  2019).

           In League of Conservative Voters v. Trump, 363 F. Supp. 3d 1013 (D. Ala. 2019),

  vacated and remanded sub. Norm, 843 F. App’x 937 (9th Cir. 2021), issues centered around

  whether the President had the authority to issue an Executive Order withdrawing a prior

  Executive Order under the OCSLA. Title 43 U.S.C. § 1341(a) of OCSLA allows a President of

  the United States to withdraw from disposition any of the unleased lands of the Outer

  Continental Shelf. President Trump issued an Executive Order (EO 13795) which purported to

  revoke previous Executive Orders involving a prior land withdrawal from the OCSLA. The

  Court found that although the OCSLA allowed the President to withdraw lands from disposition,

  it did not allow a president to revoke a prior withdrawal by an Executive Order.




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         Under the United States Constitution, Congress has the sole authority under the Property

  Clause to regulate property. 1 U. S. Constitution Art. IV, Section 3, Cl. 2. Generally, the OCSLA

  does not grant authority to the President to make revisions to the OCSLA with the exception of

  43 U.S.C. § 1341(a). Title 43 U.S.C. § 1344(e) only allows the Secretary to make “insignificant”

  changes. Any “significant” changes are required to be in the same manner the plan was

  originally developed – by the OCSLA’s four-step process. Therefore, any “significant change”

  under the OCSLA that is made without going through the OCSLA’s formal process violates the

  OCSLA.

         There is no dispute that the Secretary of the Interior did not go through the OCSLA’s

  four-step process in implementing Executive Order 14008. Rather than doing a comprehensive

  review while the scheduled oil and gas lease sales took place, the Secretary “put the cart before

  the horse.” The facts clearly show that the Secretary went about the process in the exact opposite

  way as the OCSLA four-step process. Instead of first performing the comprehensive review, the

  Secretary instituted a pause to drilling on federal land onshore and offshore and then went on to a

  review. This is erroneous.

         The Stop was a “significant” revision of the 2017-2022 Five-Year Plan that violated the

  OCSLA. There is no statutory authority that authorizes the Executive Branch to Pause the

  OCSLA Five Year Plan. Additionally, there is no authority under the MLA for the Executive

  Branch to completely Stop the process. The power to pause and/or stop the federal leasing

  process lies solely with Congress.

         Because Government Defendants cite no authority giving the President the power to

  “Pause” (Stop) the process under the OCSLA or the MLA, Government Defendants look to the

  “savings clause” of Executive Order 14008 to escape review. Government Defendants are using



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  this as an umbrella term to justify the fact that the President lacked any authority to implement

  the Pause in such a manner. The savings clause of Executive Order 14008 states:

              To the extent consistent with applicable law, the Secretary of the
              Interior shall pause new oil and natural gas leases on public lands or in
              offshore waters pending completion of a comprehensive review and
              reconsideration of Federal oil and gas permitting and leasing practices in
              light of the Secretary of the Interior’s broad stewardship responsibilities
              over the public lands and in offshore waters, including potential climate
              and other impacts associated with oil and gas activities on public lands or
              in offshore waters.

  (emphasis added).

         Government Defendants argue the savings clause allows the Executive Order to escape

  judicial review because it informs the relevant agencies not to follow the Executive Order if is it

  inconsistent with applicable law. In City & Cty. Of San Francisco v. Trump, 897 F. 3d 1225,

  1239 (9th Cir. 2018), the court found similar savings clause language in an Executive Order was

  of no consequence and could not be used as an escape from judicial review when the Executive

  Order cannot be applied in a manner consistent with those laws. Savings clauses must be read in

  context and cannot avoid judicial review when the agencies would have to override clear and

  specific language in an Executive Order.

         If a “consistent with law” savings clause precludes a court from examining whether the

  Executive Order is consistent with law, judicial review would be a meaningless exercise,

  precluding resolution of critical legal issues. Hias, Inc. v. Trump 985 F.3d 309, 325 (4th Cir.

  2021). The text of Executive Order 14008 is clear— “[t]he Secretary of the Interior shall pause

  new oil and natural gas leases in public lands or in offshore water pending completion of a

  comprehensive review [.]” Section 208 of Executive Order 14008 cannot be applied in a manner

  consistent with applicable law. The Executive Branch does not have the authority to stop the

  process under the MLA or the OCSLA while a review is taking place.

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         Therefore, the Court finds Section 208 of Executive Order 14008 is ultra vires, beyond

  the authority of the President of the United States, and in violation of the OCSLA and the MLA.

  Even the President cannot make significant changes to the OCSLA and/or the MLA that

  Congress did not delegate.

  IV.    APA CLAIMS

         The Court must additionally examine whether Plaintiff States’ APA claims are

  reviewable. To determine whether the claims are reviewable under the APA, the Court must

  determine the meaning of the provisions within the statute that create the causes of action. The

  Court applies the traditional principles of statutory interpretation to determine whether Congress

  did in fact authorize the causes of action alleged by Plaintiff States. Lexmark Int'l, Inc. v. Static

  Control Components, Inc., 572 U.S. 118, 128, 134 S. Ct. 1377, 188 L. Ed. 2d 392 (2014).

         Plaintiff States’ Complaint sets forth ten Claims for Relief. Counts I, II, III, IV, V, VI,

  VII, and VIII are claims under the APA for unreasonable delay pursuant to 5 U.S.C. § 706

  (Counts I and VI), failure to employ notice and comment in violation of 5 U.S.C. § 706 (Counts

  II and VIII), for acting contrary to law in violation of 5 U.S.C. § 706 (Counts III and V) , and for

  acting in an arbitrary and capricious manner pursuant to 5 U.S.C. § 706 (Counts IV and VII).

         Count IX is a citizen suit under the OCSLA pursuant to 43 U.S.C. § 1349, and Count X is

  an ultra vires claim which alleges that the President and the applicable agencies violated the

  United States Constitution and statutory authority and/or did not have authority to enact or

  implement a Stop of new oil and gas leases on federal land and in federal waters.

         Eight of Plaintiff States’ claims are under the APA. These claims only apply to the

  defendant agencies and employees. They do not apply to President Biden because the President

  is not an agency. The APA imposes four requirements that must be satisfied before a federal



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  court can review agency action. First, the plaintiffs must demonstrate that the agency action at

  issue in their claim is within the “zone of interests,” and that the statute was intended to protect

  from the type of agency action taken by the defendants. Second, no statute may preclude judicial

  review. Third, the Stop must constitute a “final agency action.” And fourth, the Stop must not

  be “committed to agency discretion by law.” Texas v. United States, 524 F.Supp.3d 598 (S.D.

  Tex. 2021).

          Government Defendants maintain that the “Pause”(Stop) is not a “final agency action”

  and that the “Pause” (Stop) is “committed to agency discretion by law” under the OCSLA and

  under the MLA.

          A. Zone of Interests

          Congress, through the APA, has provided a cause of action for plaintiffs seeking redress

  against the federal government for violating federal laws. 5 U.S.C. §§ 702, 706. Congress has

  limited the availability of an APA cause of action to plaintiffs who allege an injury that is

  “arguably” within the “zone of interests” to be protected or regulated by the relevant statute.

  Collins v. Mnuchin, 938 F.3d 553, 573–74 (5th Cir. 2019), cert. granted, 141 S. Ct. 193, 207 L.

  Ed. 2d 1118 (2020), and cert. granted, 141 S. Ct. 193, 207 L. Ed. 2d 1118 (2020). The benefit of

  any doubt goes to the plaintiff. The test is not “especially demanding,” and the test forecloses

  suit only when the plaintiff’s interests are so marginally related to or inconsistent with the

  purposes implicit in the statute, that it cannot be reasonably assumed that Congress authorized

  that plaintiff to sue. Id., at 573.

          This element does not need extended discussion. Clearly, all of the Plaintiff States’

  causes of action against Government Defendants are within the “zone of interests” under the

  APA.



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         B. Statutory Preclusion to Judicial Review

         Title 5 U.S.C.§ 701(a)(1) excepts the application of the APA to the extent that statutes

  preclude judicial review. Government Defendants have cited no statutes which preclude judicial

  review of Plaintiff States’ claims. This Court has found no statutes which preclude review of

  Plaintiff States’ APA claims. Therefore, the Court concludes there is no statutory preclusion to

  judicial review of Plaintiff States’ claims.

         C. Final Agency Action

         Title 5 U.S.C. § 704 provides that “final agency actions” for which there is no other

  adequate remedy in a court are subject to judicial review. Government Defendants argue that the

  “Pause” (Stop) and/or the lease cancellations/postponements are not “final agency actions.”

         To determine whether an agency action is final, two conditions are required to be

  satisfied. First, the action must mark the consummation of the agency’s decision-making process

  and must not be merely tentative or interlocutory in nature. Second, the action must be one by

  which rights or obligations have been determined, or from which legal consequences will flow.

  U.S. Army Corps of Engineers v. Hawkes Co., 136 S. Ct. 1807, 1813, 195 L. Ed. 2d 77 (2016);

  Bennett, 520 U.S. at 177–78.

         Government Defendants argue the challenged decisions are merely interim

  postponements of lease sales, not decisions to forego the sales entirely. In support, they cite Am.

  Petroleum Inst. v. U.S. E.P.A., 216 F.3d 50 (D.C. Cir. 2000) and Shawny Trail Conservancy v.

  Nicholas, 343 F.Supp.2d (S.D. Ill. 2004) for the proposition that interim postponements are not

  “final agency action.”

         In American Petroleum Institute, the court stated that a decision to defer taking action is

  not a final action reviewable by the courts. The court went on to say the announcement of an



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  agency’s intent to establish law and policy in the future is not the actual promulgation of a final

  regulation. In Shawnee Trail Conservancy, the court held that the Forest Service’s decision

  about how and when to conduct an all-terrain vehicles and off-highway motorcycles use review

  was not a final agency action.

         Plaintiff States maintain that the Stop itself, as well as each cancellation and

  postponement, constitute final agency action. Government Defendants’ use of the label “Pause”

  is not dispositive of whether the agency action is final. State of La. v. Dep't of Energy, 507 F.

  Supp. 1365, 1371 (W.D. La. 1981), aff'd sub nom. Dep't of Energy v. State of Louisiana, 690

  F.2d 180 (Temp. Emer. Ct. App. 1982). As long as an agency has completed its decision-making

  on a challenged rule—even one interim in nature—the rule satisfies the first prong of the finality

  test. Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 79–80 (D.C. Cir. 2020).

         There is no real question that Plaintiff States have met the second prong of the Bennett

  test because the Stop and/or lease cancellations are actions from which legal consequences will

  flow. The only real question is whether the Stop and/or lease cancellations mark the

  consummation of the decision-making process.

         Numerous analogous cases support Plaintiff States’ position: Texas v. United States, No.

  6:21-CV-00003, 2021 WL 723856, at *32 (S.D. Tex. Feb. 23, 2021), opinion amended and

  superseded, No. 6:21-CV-00003, 2021 WL 2096669 (S.D. Tex. Feb. 23, 2021), (a 100 day pause

  of deportations was final agency action); Ensco Offshore Co., 781 F. Supp. 2d at 334–36, (a

  blanket moratorium on deep-water drilling in the Gulf of Mexico was a final agency action);

  Env't Def. Ctr. v. Bureau of Ocean Energy Mgmt., No. CV168418PSGFFMX, 2018 WL

  5919096, at *5 (C.D. Cal. Nov. 9, 2018), (a document that effectively lifted a moratorium

  constituted final agency action); Dunn-McCampbell Royalty Int., Inc. v. Nat'l Park Serv., No.



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  CIV.A.V 06 59, 2007 WL 1032346, at *5 (S.D. Tex. Mar. 31, 2007), (a plan that effectively

  closed an area to drilling operations was final agency action); Nat. Res. Def. Council, Inc. v.

  Hodel, 865 F.2d 288 (D.C. Cir. 1988), (portions of the Five-Year Plan under OCSLA could be

  reviewed so a decision to “Pause” the five-year plan should also be able to be reviewed.); Texas,

  809 F.3d 134, (a DACA memo which made millions more persons eligible for the DAPA

  program and extended the employment authorization for three years, instead of two, was a final

  agency action); Wilbur v. U.S. ex rel. Barton, 46 F.2d 217 (D.C. Cir. 1930), aff'd sub nom. U.S.

  ex rel. McLennan v. Wilbur, 283 U.S. 414, 51 S. Ct. 502, 75 L. Ed. 1148 (1931) (the temporary

  withdrawal of public lands by the Secretary of the DOI was found to be a final agency action);

  Al Otro Lado, Inc. v. McAleenan, 394 F. Supp 3d 1168 (S.D. Cal. 2019), (an unwritten policy of

  limiting asylum seekers at ports of entry from accessing the asylum process by based on false

  claims of capacity restraints was final agency action); Amadei v. Nielsen, 348 F. Supp. 3d 145

  (E.D.N.Y. 2018), (an unwritten policy of searching travelers for identification documents after

  disembarking from domestic flights was a final agency action); BNSF Ry. Co. v. Equal Emp.

  Opportunity Comm'n, 385 F. Supp. 3d 512 (N.D. Tex. 2018); (the issuance by EEOC of a right

  to sue letter was a final agency action); Clean Air Council v. Pruitt, 862 F.3d 1 (D.C. Cir. 2017),

  (a decision to stay, pending reconsideration, of the implementation of a final rule was a final

  agency action); Velesaca v. Decker, 458 F. Supp. 3d 224 (S.D.N.Y. 2020), appeal withdrawn sub

  nom. Velesaca v. Wolf, No. 20-2153, 2020 WL 7973940 (2d Cir. Oct. 13, 2020), (a no-release

  policy was found to be a final agency action); Gomez v. Trump, 485 F. Supp. 3d 145 (D.D.C.),

  amended in part, 486 F. Supp. 3d 445 (D.D.C. 2020), and amended in part sub nom. Gomez v.

  Biden, No. 20-CV-01419 (APM), 2021 WL 1037866 (D.D.C. Feb. 19, 2021) (State

  Department’s Policy suspending VISA processing and adjudication due to COVID-19 was a



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  final agency action); Natural Resources Defense Council, 955 F.3d 68, (EPA’s rule suspending

  a prior rule was a final agency action); Becerra v. United States Dep't of Interior, 276 F. Supp.

  3d 953 (N.D. Cal. 2017), (the postponing of the application of a rule was final agency action);

  and W. Energy All. v. Jewell, No. 1:16-CV-00912-WJ-KBM, 2017 WL 3600740 (D.N.M. Jan.

  13, 2017), (BLM’s practice of cancelling or deferring lease auction sales less frequently than

  quarterly, for reasons other than lack of eligible parcels under MLA, was a final agency action).

         These cases show that a “final agency action” does not have to be defined as permanent

  to be considered final. Additionally, there is a strong presumption of judicial review.

  Establishing un-reviewability is a heavy burden. Texas, 809 F.3d at 163–64.

         The Court finds that the Stop in new oil and gas leases on federal lands and waters, the

  cancelling of Lease Sale 257, the stopping of Lease Sale 258, and the cancelling or postponing of

  “eligible lands” under the MLA that were cancelled before March 24, 2021, and involved

  Plaintiff States, are final agency actions that are reviewable under the APA.

         D. Committed to Agency Discretion by Law

         Under 5 U.S.C. § 701(a)(2), a court is unable to review an agency decision that is

  committed to agency discretion by law. Government Defendants argue that the decision to stop

  new oil and gas leases under the MLA or under the OCSLA are within its discretion.

  Government Defendants cite several statutes in which the agency is granted discretion.

  Additionally, Government Defendants argue that they have the discretion to reconsider a

  decision.

         The discretion to stop the lease process for eligible lands is not within the discretion of

  the agencies by law under either the OCSLA or the MLA. The OCSLA directs the Secretary of

  the DOI to make the OSC available for expeditious development. Ensco Offshore Co., 781 F.



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  Supp. 2d at 339. The OCSLA also directs the Secretary of the DOI to administer a leasing

  program to sell exploration interests in portions of the OSC to the highest bidder. 43 U.S.C. §§

  1334(a) and 1337(a)(1).

         The OCSLA sets up a four-step process to set up a Five-Year Program. Currently, the

  Five-Year Program in effect is from 2017-2022. At least one (Lease Sale 257) of the lease sales

  to be sold in the Five-Year Program has been cancelled due to the Stop. The Stop also halted

  Lease Sale 258 at the selling stage. The Five-Year Program currently in effect went through a

  substantial vetting process, which included millions of comments, approval from affected

  governors, publishing of a Final Program that was sent to the President and Congress, and final

  approval by the Secretary of the DOI.

         Congress, through the MLA, has also made energy-producing lands onshore available for

  development. Under the MLA, the Secretary of DOI is required to hold lease sales for each state

  where eligible lands are available at least quarterly. 30 U.S.C. § 226(b)(1)(A).

         In Western Energy Alliance, 2017 WL 3600740, the court held a BLM policy was a final

  agency action that violated the APA. There, the BLM policy in question cancelled or deferred

  eligible lands and did not have the lease sales quarterly. The court denied defendant’s motion to

  dismiss the plaintiff’s claims that BLM was required to hold lease sales for eligible lands

  quarterly and did not have the discretion to do less, so long as there were eligible lands. In other

  words, the plaintiffs had a cause of action based on these allegations. Here, because there were

  admittedly “eligible lands” available for leasing under both the OCSLA and the MLA,

  Government Defendants do not have the authority to stop the process.

         The fact that a statute grants broad discretion to an agency does not render the agency’s

  decisions completely unreviewable unless the statutory scheme, taken together with other



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  relevant materials, provides absolutely no guidance as to how that discretion is to be exercised.

  Texas, 809 F.3d at 168. That is not the case here. Both the MLA and the OCSLA set forth

  requirements to hold lease sales of eligible lands and sets forth how it is to be conducted.

             The agencies could cancel or suspend a lease sale due to problems with that specific

  lease, but not as to “eligible” lands for no reason other than to do a comprehensive review

  pursuant to Executive Order 14008. Although there is certainly nothing wrong with performing

  a comprehensive review, there is a problem in ignoring acts of Congress and stopping the

  process while the review is being completed.

             Two previous rulings from the Office of the Solicitor on February 12, 199679, and on

  January 5, 1981,80 confirm that any significant revisions of an existing Five-Year OCSLA Plan

  would require the Secretary of the Interior to revise it “in the same manner that it was originally

  developed.” The Secretary of the DOI cannot make any significant changes to the Five-Year

  Plan without going through the same procedure by which the Five-Year Plan was developed.

  The Stop itself and/or cancellation of one of the Lease Sales set out in the Five-Year Plan is

  subject to review.

             The Court finds the agency actions at issue are not barred from APA review as actions

  committed to agency discretion by law. The APA claims of Plaintiff States are reviewable by

  this Court.

             E. Contrary to Law 5 U.S.C. § 706 (2)(A) and (C)

             Title 5 U.S.C. § 706 (2)(A) and (C) authorizes courts to hold unlawful and set aside

  agency actions not in accordance with law or in excess of statutory authority. Plaintiff States

  assert that the Stop of new oil and gas leases on federal land and in federal waters pending a


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       [Doc. No. 121-1, p. 61]
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       [Doc. No. 121, p. 56]

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  comprehensive review is not in accordance with law and exceeds the agencies authority under

  both the OCSLA and the MLA.

         The Court finds the Stop is in violation of both the OCSLA and the MLA. Both statutes

  require Government Defendants’ agencies to sell oil and gas leases. The OCSLA has a Five-

  Year Plan in effect that requires eligible leases to be sold. Government Defendants’ agencies

  have no authority to make significant revisions in the OCSLA Five-Year Plan without going

  through the procedure mandated by Congress. The MLA requires the DOI to hold lease sales,

  where eligible lands are available at lease quarterly.

         By stopping the process, the agencies are in effect amending two Congressional statutes.

  Neither the OCSLA nor the MLA gives the Government Defendants’ agencies the authority to

  implement a Stop of lease sales. Those statutes require eligible oil and gas leases to continue to

  be sold in accordance with the statutes. The Court finds that the stopping of leasing of eligible

  lands and waters is contrary to law.

         F. Arbitrary and Capricious 5 U.S.C. § 706(2)(A)

         Federal administrative agencies are required to engage in reasoned decision-making.

  Allentown Mack Sales & Serv., Inc. v. N.L.R.B., 522 U.S. 359, 374, 118 S. Ct. 818, 139 L. Ed. 2d

  797 (1998). Plaintiff States allege the Pause is arbitrary and capricious under 5 U.S.C. §

  706(2)(A) as to both the MLA and the OCSLA claim.

         If an administrative agency does not engage in reasoned decision-making, a court, under

  the APA, shall hold unlawful and set aside agency action, findings, and conclusions found to be

  arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

  706(2)(A). The grounds upon which an administrative order must be judged are those upon

  which the record discloses that its action was based. Sec. & Exch. Comm'n v. Chenery Corp., 318



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  U.S. 80, 87, 63 S. Ct. 454, 87 L. Ed. 626 (1943). Other than a reference to Executive Order

  14008, no reasons or explanations were given by the agencies for stopping the oil and gas leasing

  process.

         A command in an Executive Order does not exempt an agency from the APA’s reasoned

  decision-making requirement. California v. Bernhardt, 472 F. Supp. 3d 573, 600–01 (N.D. Cal.

  2020). A decision supported by no reasoning whatsoever in the record cannot be saved merely

  because it involves an Executive Order. Texas, 2021 WL 2096669, at *39–41. The recission of

  Lease Sale 257 and the Executive Order itself (86 Fed. Reg. 7624-25) provides no rationale for

  departing from the OCSLA or the MLA requirements. As to Lease Sale 258, BOEM cancelled

  both the public comment and public meetings. No explanation was given, other than an

  adherence Executive Order 14008. 86 Fed. Reg. 10994.

         BLM did not publish a formal notice in the Federal Register halting BLM quarterly land

  sales, but it did publish a Fact Sheet, which noted the President’s Executive Order. No

  explanation (other than the Executive Order) was given for stopping the lease sales. After that,

  the regional BLM offices began posting postponement or cancellation notices for the March and

  April 2021, lease sales without explanation.

         Because no rational explanation was given, the Court finds that the cancellation of the

  leases and enactment of the Stop were arbitrary and capricious actions under the APA.

         G. Failure to Provide Notice and Comment 5 U.S.C. § 553

         Plaintiff States also claim they are entitled to injunctive relief under the APA because the

  Stop and lease cancellations are substantive rules that require notice and comment pursuant to 5

  U.S.C. § 553. Section 553 was enacted to allow the public an opportunity to participate in the

  rule-making process. U.S. Dep't of Lab. v. Kast Metals Corp., 744 F.2d 1145, 1153 n.17 (5th Cir.



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  1984). The APA requires rules to undergo notice and comment unless the rule is exempt. 5

  U.S.C. § 553(a)(b). The two exceptions set forth in 5 U.S.C. § 553 are (1) interpretive rules,

  general statements of policy, or rules of agency organization, procedure, and practices, and (2)

  when the agency for good cause finds (and incorporates the finding and a brief statement of

  reasons in the rule issued) that notice and public procedure are impracticable, unnecessary, or

  contrary to the public interest. These exceptions are to be narrowly construed, and the only

  exception which conceivably could apply here is the first. Texas, 809 F.3d at 171.

            In analyzing whether an agency pronouncement is a statement of policy or a substantive

  rule, the starting point is the agency’s characterization of the rule. Pros. & Patients for

  Customized Care v. Shalala, 56 F.3d 592, 596 (5th Cir. 1995). As to the offshore leases, there is

  no characterization, just reference to Executive Order 14008. As to the land leases, Government

  Defendants deny there is any “Pause” (Stop) at all. In reading Section 208 of Executive Order

  14008, there is no characterization. Executive Order 14008 states: “To the extent consistent with

  applicable law, the Secretary of the Interior shall Pause new oil and natural gas leases on public

  lands or in offshore waters pending completion of a comprehensive review[.]”

            When distinguishing policy statements from substantive rules, the Fifth Circuit instructs

  district courts to determine whether the rule imposes any rights and obligations, and whether it

  genuinely leaves the agency and its decisionmakers free to exercise discretion. Texas, 809 F.3d

  at 171.

            Executive Order 14008 imposes rights and obligations and does not leave the agency and

  its decisionmakers room to exercise discretion. The Executive Order effectively commands that

  the DOI stop performing its obligations under the OCSLA and the MLA to sell oil and natural

  gas leases. That impact is legal in nature and effectively stopped the scheduled sale of Lease Sale



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  257, put the brakes on Lease Sale 258, and stopped the quarterly lease sales under the MLA. The

  Executive Order also leaves the agency and its decisionmakers with no true discretion. Although

  the Order contains the savings clause, Executive Order 14008 also uses the wording “shall

  pause.” That wording eliminates the agency’s discretion because exercising discretion would be

  disobeying a Presidential Executive Order.

         The Stop, or “Pause” as referred to in Executive Order 14008, is a substantive rule as

  implemented by the DOI and BLM, and the exceptions to 5 U.S.C. § 553 do not apply. The order

  is not procedural because it modifies substantive rights and interests under the “substantial

  impact test.” Texas, 809 F.3d at 176. The exceptions in 5 U.S.C. § 553 do not apply, and notice

  and comment was required under 5 U.S.C. § 553(b) and (c).

         It is uncontested that no notice and comment was conducted by Government Defendant

  agencies pursuant to 5 U.S.C. § 553. The actions taken were substantive in nature, and the

  agency did not have good cause to forego the notice and comment requirement. Accordingly,

  the actions of the Government Defendants violate the APA’s notice and comment procedure.

         H. Unreasonably Withheld and Unreasonably Delayed 5 U.S.C. § 706(1)

         Title 5 U.S.C. § 706(1) provides that the reviewing court under the APA shall compel

  agency action unlawfully withheld or unreasonably delayed.

         Because the Court finds Government Defendants violated the APA because their actions

  were contrary to law, arbitrary and capricious, and failed to provide notice and comment, it is

  unnecessary to determine whether Government Defendants’ actions were unreasonably withheld

  and unreasonably delayed.




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  V. CITIZEN’S SUIT

          Count IX of Plaintiff States’ Complaint alleges a citizen’s suit pursuant to 43 U.S.C. §

  1349. Plaintiff States have not pursued and/or briefed this claim. Additionally, the citizen suit

  provision was not intended to operate as a means of obtaining “umbrella” review for a series of

  agency decisions that were or will be subject to judicial review under the APA. OXY USA, Inc. v.

  Babbitt, 122 F.3d 251, 258 (5th Cir. 1997).

          Therefore, Government Defendants’ Cross-Motion for Summary Judgment is

  GRANTED as to the Plaintiff States’ citizen suit claim.

  VI.     PERMANENT INJUNCTION

          A permanent injunction is an extraordinary remedy never awarded of right. Benisek v.

  Lamone, 138 S. Ct. 1942, 1943, 201 L. Ed. 2d 398 (2018). In each case, the courts must balance

  the competing claims of injury and must consider the effect on each party of the granting or

  withholding of the requested relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24, 129 S.

  Ct. 365, 172 L. Ed. 2d 249 (2008).

          The standard for a permanent injunction requires a movant to show (1) the substantial

  likelihood of success on the merits, (2) that he is likely to suffer irreparable harm in the absence

  of an injunction, (3) that the balance of equities tips in his favor, and (4) that an injunction is in

  the public interest. Benisek, 138 S. Ct. at 1944. The party seeking relief must satisfy a

  cumulative burden of proving each of the four elements enumerated before an injunction can be

  granted. Clark v. Prichard, 812 F.2d 991, 993 (5th Cir. 1987). None of the four prerequisites has

  a quantitative value. State of Tex. v. Seatrain Int'l, S. A., 518 F.2d 175, 180 (5th Cir. 1975).




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         A. Success on the Merits

         For the reasons set forth herein, Plaintiff States have been successful on their eight claims

  under the APA (Counts I, II, III, IV, V, VI, VII and VIII) and on the ultra vires claim (Count X).

  Plaintiff States have not been successful on their citizens suit claim (Count IX). Therefore,

  Plaintiff States have met the first factor on Counts I-VIII and on Count X.

         B. Irreparable Injury

         Plaintiff States must demonstrate “a substantial threat of irreparable injury” if the

  injunction is not issued. Texas, 809 F.3d at 150. For the threat to be sufficiently “substantial,”

  plaintiffs must show they are likely to suffer irreparable harm in the absence of preliminary

  relief. Winter, 555 U.S. at 20. For the injury to be sufficiently “irreparable,” plaintiffs need only

  show they “cannot be undone through monetary remedies.” Burgess v. Fed. Deposit Ins. Corp.,

  871 F.3d 297, 304 (5th Cir. 2017).

         Plaintiff States are alleging they would sustain damages due to reduced funding for

  bonuses, ground rent, royalties, and rentals as a result of the Stop of new oil and gas leases in

  federal waters or on federal land. Additionally, Louisiana is also claiming damage for reduced

  funding to the Coastal Master Plan, which would reduce proceeds that are used in Louisiana’s

  coastal recovery and restoration program. Plaintiff States are also claiming damages through

  loss of jobs in the oil and gas sector, higher gas prices, losses by local municipalities and

  governments, as well as damage to Plaintiff States’ economy. Additionally, Plaintiff States

  argue that they will not be able to recover money damages against Government Defendants due

  to sovereign immunity. Texas, 809 F.3d at 186 and Texas, 2021 WL 2096669, at *47.

          Government Defendants maintain that drilling and the issuing of drilling permits is

  continuing at the same level as it did prior to the Pause. However, just with the loss of proceeds



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  from Lease Sale 257, which would have been already completed, Plaintiff States would have

  been entitled to ground rents and bonuses that they will not receive. Plaintiff States have alleged

  substantial damages from Government Defendants, which would be difficult, if not impossible,

  to recover due to sovereign immunity. Even though existing leases are proceeding, the fact that

  new oil and gas leases on federal lands and in federal waters are paused will ultimately result in

  losses to Plaintiff States from which they will likely not be able to recover.

         Accordingly, this Court finds Plaintiff States have demonstrated a substantial threat of

  irreparable injury.

         C. The Balance of Equities and the Public Interest

         The final two elements Plaintiff States must satisfy for a permanent injunction to be

  issued are that the threatened harm outweighs any harm that may result to Government

  Defendants, and, that the injunction will not undermine the public interest. Valley v. Rapides

  Par. Sch. Bd., 118 F.3d 1047, 1051 (5th Cir. 1997). These two factors overlap considerably.

  Texas, 809 F.3d at 187. In weighing equities, a court must balance the competing claims of

  injury and must consider the effect on each party of the granting or withholding of the requested

  relief. Winter, 555 U.S. at 24. The public interest factor requires the court to consider what

  public interests may be served by granting or denying an injunction. Sierra Club v. U.S. Army

  Corps of Engineers, 645 F.3d 978, 997–98 (8th Cir. 2011).

         Both sides argue equity and public interest in their own favor. The Court finds both

  factors weigh in favor of Plaintiff States. If the Stop were enjoined, Government Defendants

  would simply be doing what they are statutorily required to do under the OCSLA and the MLA.

  Government Defendants even maintain there is no “Pause” (Stop) with regard to MLA, so there




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  would be no harm in enjoining Government Defendants from implementing something that they

  deny even exists.

             Plaintiff States’ claims are substantial. Millions and possibly billions of dollars are at

  stake. Local government funding, jobs for Plaintiff States’ workers, and funds for the restoration

  of Louisiana’s Coastline are at stake. Plaintiff States have a reliance interest in the proceeds

  derived from offshore and onshore oil and gas lease sales.

             Additionally, the public interest is served when the law is followed.81 The public will be

  served if Government Defendants are enjoined from taking actions contrary to law. In a time of

  high gas and oil prices, draining of the Strategic Petroleum Reserve, and looking to other nations

  to supply the United States’ oil and gas needs, the public interest would be served by a

  permanent injunction.

             Therefore, the Court finds that Plaintiff States have satisfied all four elements required

  for a permanent injunction to be issued.

             Specifically, the Court finds Government Defendants are enjoined and restrained from

  imposing a Stop, referred to in Executive Order 14008 as a Pause, of federal oil and gas leases as

  to eligible lands, or by pretext, to make eligible lands ineligible. This order will not apply to

  lease sales cancelled after March 24, 2021, and will not apply to lease sales in states other than in

  Plaintiff States. This order specifically includes the following lease sales: Lease Sale 258;

  Quarter 2 onland lease sales scheduled for April 2021, in Utah and Montana that were cancelled

  on March 1, 2021; any of the following lease sales cancelled prior to March 24, 2021, due to

  Section 208 of Executive Order 14008; and any lease sale involving Plaintiff States that was




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       Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013).

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  cancelled prior to March 24, 2021 for reasons other than Executive Order 14008, that are

  determined to be pretextual.

  VII.       CONCLUSION

             For the reasons set forth herein, the Court finds Plaintiff States Motion for Summary

  Judgment [Doc. No. 199] is GRANTED with regard to its APA claims and its ultra vires claim.

  It is DENIED with regard to its citizen suit claims. It is also DENIED with regard to any Lease

  Sales cancelled or postponed after March 24, 2021, and as to any lease sales involving non-

  plaintiff states.

             Government Defendants’ Cross-Motion for Summary Judgment is DENIED with regard

  to the eight APA claims and the ultra vires claim. It is GRANTED as to the citizen suit claim,

  any lease sales cancelled or postponed after March 24, 2021, and any lease sales involving non-

  plaintiff states.

             The Court further issues a permanent injunction against Government Defendants, and

  they are ENJOINED from implementing a Stop, referred to in Executive Order 14008 as a

  Pause, on new oil and gas leases on public lands and in offshore waters, as set forth in Section

  208 of Executive Order 14008, as to all “eligible” lands both onshore and offshore.

             The geographic scope of the permanent injunction shall be limited to the thirteen Plaintiff

  States of Louisiana, Alabama, Alaska, Arkansas, Georgia, Mississippi, Missouri, Montana,

  Nebraska, Oklahoma, Texas, Utah, and West Virginia. The previous nationwide injunction82 is

  lifted except to the thirteen Plaintiff States.

             The Court will not require security to be posted for the Plaintiff States under FED. R. CIV.

  P. 65.



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       [Doc. No. 140]

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           This permanent injunction shall remain in effect until there are further orders from this

  Court, the United States Court of Appeals for the Fifth Circuit, or the United States Supreme

  Court.

           MONROE, LOUISIANA, this 18th day of August 2022.



                                                         __________________________________
                                                         TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE




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